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IN THE UNITED STATES DISTR{C‘T COURT
FOR THE EASTERN DI`STRICT OF VIRGINIA

Alexaodria Division
UNITED STATES O.F AM`ERICA )
v. § Criminal no. l:lS-CR-SOS
MARKARA MAN, §
Defend¢ml. §

 

ORDER
Defcndant, Makara Man, hereby requests that local counsel Evan M. Lisull, pursuant to
Loca,l Criminal Rule 57.4(!~`)_. be excused from attending thc hearing set in this matter for August
31, 2018. Upon the consent of the government’s counsel and for good cause stated in the Motion,
it is hereby ORDERE.D that the consented-to Motion is GRANTED.

IT lS SO ORDERED.

 

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